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8                                UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
10                                      SOUTHERN DIVISION
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12   OTIS DANDRE HART,                        )   No. SA CV 15-2129-R (PLA)
                                              )
13                      Petitioner,           )   JUDGMENT
                                              )
14                v.                          )
                                              )
15   JEFFREY A. BEARD, SECRETARY of           )
     the CDCR, et al.,                        )
16                                            )
                        Respondents.          )
17                                            )
18         Pursuant to the order accepting the magistrate judge’s report and recommendation,
19   IT IS ADJUDGED that the petition is denied and dismissed with prejudice.
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23   DATED: March 6, 2017
                                                        HONORABLE MANUEL L. REAL
24                                                     UNITED STATES DISTRICT JUDGE
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